/

Case 9:08-tp-80023-DMM Document1 Entered on FLSD Docket 12/15/2008 Page 1 of 17

 

PROB 22 DOCKET NUMBER (Tran. Court)
(Rev. 2/88) 06-00511-001

 

 

TRANSFER OF JURISDICTION
, DOCKET NUMBER (Rec. Court)
08 - 80023-T /p- p KH

 

 

 

 

 

 

 

 

 

 

 

 

NAME AND ADDRESS OF PROBATIONER/SUPERVISED RELEASEE: DISTRICT DIVISION
Kevin Burke New Jersey
West Palm Beach County Jail ,
G aes Road unty NAME OF SENTENCING JUDGE
u
oo D.C.
West Palm Beach, FL FILE by - Katharine S. Hayden
i 9008 DATES OF PROBATION/ FROM TO
perf 5 200 SUPERVISED RELEASE: March 15,2007 | March 14, 2012
. sORE
OFFENSE SrTiO CT
(EARS Pa, WRB,

 

Conspiracy to Defraud the United States.

 

PART 1 - ORDER TRANSFERRING JURISDICTION

 

UNITED STATES DISTRICT COURT FOR THE New Jersey

 

IT IS HEREBY ORDERED that pursuant to 18 U.S.C. 3605 the jurisdiction of the probationer or supervised
releasee named above be transferred with the records of the Court to the United States District Court for the Southern
District of Florida upon that Court’s order of acceptance of jurisdiction. This Court hereby expressly consents that the
period of probation or supervised release may be changed by the District Court to which this transfer is made without
further inquiry of this Court.*

Lf ) 4 / / OKO ke. CA S

Date United States District Judge

 

 

 

 

*This sentence may be deleted in the discretion of the transferring Court.

 

PART 2 - ORDER ACCEPTING JURISDICTION

 

UNITED STATES DISTRICT COURT FOR THE Southern District of Florida

 

IT IS HEREBY ORDERED that jurisdiction over the above-named probationer/supervised releasee be accepted
and assumed by this Court from and after the entry of this order.

 

United States District Judge

 

 

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Case 9:08-tp-80023-DMM Document 1 Entered on FLSD Docket 12/15/2008 Page 2 of 17

UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY
OFFICE OF THE CLERK CAMDEN OFFICE

M. L. KING JR. FEDERAL BLDG. & U.S. COURTHOUSE ONE JOHN F. GERRY PLAZA
50 WALNUT STREET, P.O. BOX 419 FOURTH & COOPER STREETS
NEWARK, NJ 07101-0419 CAMDEN, NJ 08101
(973) 645-3730
TRENTON OFFICE
402 EAST STATE STREET
William T. Walsh ROOM 20230
Clerk TRENTON, NJ 08608

REPLY TO: _NEWARK

DATE: November 19, 2008

8 Wilkie D. Ferguson, Jr.
United States Courthouse
400 North Miami Avenue
Miami, FI. 33128

Re: U.S.A. -v- Kevin Burke
Our Docket No. 06-er-511
Your Docket No.

Dear Clerk:

A Transfer of Jurisdiction Order (Prob 22 form) has been filed with this District in the
above-captioned case. This District considers the electronic record to be the original pursuant to
Federal Rules of Criminal Procedure 49(d), Local Civil Rule 5.2 and paragraph 7 of the Court's
Electronic Case Filing Policies and Procedures. The original records of this Court can be
obtained by accessing CM/ECF through PACER. Certified copies of any document not available
through PACER are enclosed . Kindly acknowledge receipt on the duplicate of this letter, which
is provided for your convenience.

Sincerely,
WILLIAM T. WALSH, Clerk

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Deputy Clerk q

RECEIPT ACKNOWLEDGED BY:
DATE:

 

 

DNJ-Crim-003(Rev. 09/06)
CMECE BIVE <b> Diswins Cet ton che Diswict obN ox ferse Docket 12/15/2008 Pabjage bet?

CLOSED

U.S. District Court

District of New Jersey [LIVE] (Newark)
CRIMINAL DOCKET FOR CASE #: 2:06-cr-00511-KSH-1

Case title: USA v. Burke

Magistrate judge case number: 2:04-mj-03507-MF

Date Filed: 07/06/2006
Date Terminated: 03/15/2007

 

Assigned to: Judge Katharine S.
Hayden

Defendant (1)

Kevin Burke
TERMINATED: 03/15/2007
also known as

KYLE BERKMAN
TERMINATED: 03/15/2007

Pending Counts

18:371 CONSPIRACY TO DEFRAUD
THE UNITED STATES d/o/f 01/03
thru 02/03

(1)

Highest Offense Level (Opening)

represented by BRYAN BLANEY

LOWENSTEIN SANDLER, PC
65 LIVINGSTON AVENUE
ROSELAND , NJ 07068

(973) 597-2500

Email: bblaney@lowenstein.com
TERMINATED; 05/27/2008
LEAD ATTORNEY

ATTORNEY TO BE NOTICED
Designation: CJA Appointment

LISA MACK

FEDERAL PUBLIC DEFENDER'S
OFFICE

972 BROAD STREET

NEWARK , NJ 07102

(973) 645-6347

Email: lisa_mack@fd.org

LEAD ATTORNEY

ATTORNEY TO BE NOTICED
Designation: Public Defender or
Community Defender Appointment

Disposition

Defendant sentenced to 5 years (60
months) probation w/ conditions;
Restitution $44,048.35 with interest
waived, etc.; Special assessment
$100.00

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Felony
Terminated Counts Disposition
None

Highest Offense Level (Terminated)

 

None

Complaints Disposition

18:1343.F

Plaintiff

USA represented by EREZ LIEBERMANN

OFFICE OF THE U.S. ATTORNEY
970 BROAD STREET

ROOM 700

NEWARK , NJ 07102

(973) 645-2700

Email: erez.liebermann@usdoj.gov
LEAD ATTORNEY

ATTORNEY TO BE NOTICED

 

Date Filed # | Docket Text

01/08/2004 1 | SEALED COMPLAINT as to JENNIFER PIZZA (1), Kevin Burke (2). (ej, )
[2:04-mj-03507-MF] (Entered: 01/09/2004)

01/08/2004 2 | Order to Seal Case as to JENNIFER PIZZA, Kevin Burke. Signed by Judge
Mark Falk on 01/08/04. (ej, ) [2:04-mj-03507-MF] (Entered: 01/09/2004)

01/08/2004 3 | DISCLOSURE STATEMENT by USA. (ej, ) [2:04-mj-03507-MF] (Entered:
01/09/2004)

01/08/2004 ARREST Warrant Issued as to Kevin Burke. (ej, ) [2:04-mj-03507-MF]
(Entered: 01/09/2004)

03/17/2004 11 | Minute Entry for proceedings held before Judge Mark Falk :Initial Appearance
as to Kevin Burke held on 3/17/2004. Court Ordered deft. released on
$10,000.00 PR bond continued from the E. Dist. of PA. w/PTS Superv., travel
restricted to NJ & E. PA & drug/alchol testing/treatment. (Tape #F 04 #25.)
(ej, ) [2:04-mj-03507-MF] (Entered: 03/18/2004)

03/17/2004 12 | ORDER Setting Conditions of Release as to Kevin Burke (2) $10,000.00 PR
continued from E. Dist. of PA, etc, Signed by Judge Mark Falk on 03/17/04.
(ej, ) [2:04-mj-03507-MF] (Entered: 03/18/2004)

03/17/2004 10 | CJA 23 Financial Affidavit by Kevin Burke (ej, ) [2:04-mj-03507-MF]

 

 

 

 

 

 

 

 

 

 

 

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(Entered: 03/18/2004)

 

03/17/2004

Attorney update in case as to Kevin Burke, Attorney BRYAN BLANEY for
Kevin Burke added. (ej, ) [2:04-mj-03507-MF] (Entered: 03/18/2004)

 

03/17/2004

CJA 20 as to Kevin Burke : Appointment of Attorney BRYAN BLANEY for
Kevin Burke. Signed by Judge Mark Falk on 03/17/04. (ej, ) [2:04-mj-03507-
MF] (Entered: 03/19/2004)

 

03/17/2004

Arrest of Kevin Burke in Eastern Pennsylvania. (ej, ) [2:04-mj-03507-MF]
(Entered: 03/23/2004)

 

03/22/2004

Rule 40 Documents Received as to Kevin Burke (ej, ) [2:04-mj-03507-MF]
(Entered: 03/23/2004)

 

04/05/2004

APPLICATION/PETITION by Pretrial Services for ARREST WARRANT.
(mm, ) [2:04-mj-03507-MF] (Entered: 04/12/2004)

 

04/07/2004

ORDER TO CONTINUE - Ends of Justice as to Kevin Burke Time excluded
from 4/2/04 until 5/31/04. . Signed by Judge Mark Falk on 4/7/04. (mm, )
[2:04-mj-03507-MF'] (Entered: 04/08/2004)

 

04/12/2004

ARREST Warrant Issued as to Kevin Burke. (mm, ) [2:04-mj-03507-MF]
(Entered: 04/12/2004)

 

06/01/2004

17

ORDER TO CONTINUE - Ends of Justice as to Kevin Burke Time excluded
from 5/31/04 until 7/30/04. Signed by Judge Mark Falk on 6/1/04. (mm-sl, )
[2:04-mj-03507-MF] (Entered: 06/01/2004)

 

06/04/2004

Rule 40 Documents Received as to Kevin Burke. (mm-sl, ) [2:04-mj-03507-
MF] (Entered: 06/04/2004)

 

06/04/2004

25

Rule 40 Documents Received as to Kevin Burke. (mm-sl, ) [2:04-mj-03507-
MF] (Entered: 06/30/2004)

 

06/14/2004

19

Order to Unseal Case as to JENNIFER PIZZA, Kevin Burke. Signed by Judge
Mark Falk on 6/14/04. (mm-sl, ) [2:04-mj-03507-MF] (Entered: 06/16/2004)

 

06/17/2004

20

ORDER as to Kevin Burke Modifying Bail conditions Signed by Judge Joel B.
Rosen on 06/17/04. (bb, ) [2:04-mj-03507-MF] (Entered: 06/17/2004)

 

08/02/2004

ORDER TO CONTINUE - Ends of Justice as to Kevin Burke Time excluded
from 7/30/04 until 9/28/04. Signed by Judge Mark Falk on 8/2/04. (mm-sl, )
[2:04-mj-03507-MF] (Entered: 08/03/2004)

 

08/06/2004

Substitution of Attorney - Attorney RACHAEL HILL and RACHAEL HILL
for USA and USA added. Attorney JESSICA L, STEIN terminated. (HILL,
RACHAEL) [2:04-mj-03507-MF] (Entered: 08/06/2004)

 

09/29/2004

33

ORDER TO CONTINUE - Ends of Justice as to Kevin Burke Time excluded
from 9/28/04 until 11/27/04. Signed by Judge Mark Falk on 9/29/04. (mm-sl, )
[2:04-mj-03507-MF] (Entered: 09/29/2004)

 

12/13/2004

 

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ORDER TO CONTINUE - Ends of Justice as to Kevin Burke Time excluded
from 12/6/04 until 2/4/05. . Signed by Judge Mark Falk on 12/13/04. (mm-sl, )

 

12/15/2008
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[2:04-mj-03507-MF] (Entered: 12/14/2004)

 

01/28/2005

37

ORDER TO CONTINUE - Ends of Justice as to Kevin Burke Time excluded
from 2/4/05 until 4/1/05. . Signed by Judge Mark Falk on 1/28/05. (mm-sl, )
[2:04-mj-03507-MF] (Entered: 01/28/2005)

 

03/31/2005

ORDER TO CONTINUE - Ends of Justice as to Kevin Burke Time excluded
from 4/5/05 until 6/4/05. Signed by Judge Mark Falk on 3/31/05. (mm-sl, )
[2:04-mj-03507-MF] (Entered: 04/02/2005)

 

06/06/2005

41

ORDER TO CONTINUE - Ends of Justice as to Kevin Burke Time excluded
from 6/4/05 until 8/3/05. Signed by Judge Mark Falk on 6/6/05. (mm, ) [2:04-
mj-03507-MF] (Entered: 06/06/2005)

 

07/15/2005

44

ORDER TO CONTINUE - Ends of Justice as to Kevin Burke Time excluded
from 8/3/05 until 10/2/05. Signed by Judge Mark Falk on 7/15/05. (mm, )
[2:04-mj-03507-MF] (Entered: 07/15/2005)

 

10/07/2005

46

ORDER TO CONTINUE - Ends of Justice as to Kevin Burke Time excluded
from 10/3/05 until 12/2/05. Signed by Judge Mark Falk on 10/7/05. (mm, )
[2:04-mj-03507-MF] (Entered: 10/07/2005)

 

10/17/2005

Petition & Order for action on conditions of release. Signed by Judge Mark
Falk on 10/17/05. (mm, ) [2:04-mj-03507-MF] (Entered: 10/17/2005)

 

12/16/2005

ORDER TO CONTINUE - Ends of Justice as to Kevin Burke Time excluded
from 12/12/05 until 21/10/06. Signed by Judge Mark Falk on 12/16/05. (mm, )
[2:04-mj-03507-MF] (Entered: 12/20/2005)

 

03/24/2006

Rule 5 Documents Received from the Eastern District of Pennsylvania as to
Kevin Burke (jn, ) [2:04-mj-03507-MF] (Entered: 04/17/2006)

 

04/11/2006

Minute Entry for proceedings held before Judge Mark Falk :Bond Hearing as to
Kevin Burke held on 4/11/2006. Ordered bond set at $10,000 unsecured.
(Digital Recording F06#04.) (jr) [2:04-mj-03507-MF] (Entered: 04/11/2006)

 

04/11/2006

BY

ORDER Setting Conditions of Release as to Kevin Burke (2) $10,000
unsecured . Signed by Judge Mark Falk on 4/11/2006. (jr) [2:04-mj-03507-MF]
(Entered: 04/11/2006)

 

04/11/2006

Unsecured Bond Entered as to Kevin Burke in amount of $10,000. (jr) [2:04-
mj-03507-MF] (Entered: 04/11/2006)

 

05/02/2006

57

Substitution of Attorney - Attorney EREZ LIEBERMANN and EREZ
LIEBERMANN for USA added. Attorney RACHAEL HONIG terminated.
(LIEBERMANN, EREZ) [2:04-mj-03507-MF] (Entered: 05/02/2006)

 

07/06/2006

INFORMATION as to Kevin Burke (1) count(s) 1. (RG, ) (Entered:
07/10/2006)

 

07/06/2006

WAIVER OF INDICTMENT by Kevin Burke (RG, ) (Entered: 07/10/2006)

 

07/06/2006

 

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Minute Entry for proceedings held before Judge Katharine $8. Hayden :Plea
Agreement Hearing as to Kevin Burke held on 7/6/2006, Plea entered by Kevin
Burke (1) Guilty Count 1. Sentencing set for 11/6/2006 03:00 PM before Judge

12/15/2008

 
CM/ECB-bEYE pbs Pistint Coutdon dhe Distt Eh Gx 49855 Docket 12/15/2008 Pabaer 819

Katharine S. Hayden. (Court Reporter Ralph Florio.) (RG, ) (Entered:
07/10/2006)

 

07/06/2006

61

APPLICATION for permission to enter Plea of guilty (RG, ) (Entered:
07/10/2006)

 

07/06/2006

62

PLEA AGREEMENT as to Kevin Burke (RG, ) (Entered: 07/10/2006)

 

02/01/2007

63

SENTENCING MEMORANDUM by Kevin Burke (Attachments: # 1 Exhibit

sentencing memorandum)(BLANEY, BRYAN) (Entered: 02/01/2007)

 

03/08/2007

Letter from Bryan Blaney (BLANEY, BRYAN) (Entered: 03/08/2007)

 

03/15/2007

Minute Entry for proceedings held before Judge Katharine S.

Hayden :Sentencing held on 3/15/2007 for Kevin Burke (1), Count(s) 1,
Defendant senteced to 5 years probation; shall refrain from the use of alcohol,
etc.; shall refrain from the possession and/or use of drugs, etc.; shall provide
full financial disclosure, etc.; is prohibited from incurring new credit charges,
etc.; shall cooperate with DNA collection, etc.; Restitution $44,048.35 with
interest waived, etc.; Special assessment $100.00. (Court Reporter Ralph
Florio.) (rg, ) (Entered: 03/15/2007)

 

03/15/2007

66

JUDGMENT as to Kevin Burke (1), Count(s) 1, Defendant sentenced to 5 years
(60 months) probation w/ conditions; Restitution of $44,048.35 with interest
waived; Special assessment of $100.00. Signed by Judge Katharine S. Hayden
on 3/15/07. (jgb) (Entered: 03/19/2007)

 

07/17/2007

67

ORDER ADOPTING REPORT AND RECOMMENDATIONS request for
modifying the conditions or term of supervision with the consent of the
offender as to Kevin Burke. Signed by Judge Katharine S. Hayden on 7/16/07.
(jn, ) (Entered: 07/17/2007)

 

10/19/2007

68

ORDER ADOPTING REPORT AND RECOMMENDATIONS for Offender
Under Supervision for an ORDER FOR ISSUANCE OF ARREST WARRANT
as to Kevin Burke. Signed by Judge Katharine S$. Hayden on 10/19/07.
(Warrant Issued 10/19/07) (jgb) (Entered: 10/19/2007)

 

01/17/2008

69

AMENDED PETITION AND ORDER FOR ISSUANCE OF ARREST
WARRANT for VIOLATION OF PROBATION as to KEVIN BURKE.
Signed by Judge Katharine S. Hayden on 1/17/08. (Warrant Issued 1/18/08)
(jgb) (Entered: 01/18/2008)

 

03/07/2008

71

Rule 5 Documents Received as to Kevin Burke (Attachments: # | Initial
Hearing Minutes, # 2 Order on Initial Appearance, # 3 Report, # 4 Detention &

Docket Sheet)(jgb) (Entered: 03/17/2008)

 

03/14/2008

10

Letter from Kevin Burke re: plea to VOSR. Letter forwarded to Hon. K.S.
Hayden and Federal Probation, re 68 Order Adopting Report and
Recommendations, Order for Warrant, 69 Petition and Order for Warrant VOP
(jn, ) (Entered: 03/14/2008)

 

04/01/2008

 

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PETITION AND ORDER FOR SUMMONS for VIOLATION OF

 

12/15/2008
CMECE.BEVE cho District Cow dordhe Distictob blew #485 Docket 12/15/2008 Pabass off

PROBATION as to Kevin Burke. Hearing set for 4/21/2008 12:00 PM before
Judge Katharine S. Hayden.. Signed by Judge Katharine 8. Hayden on 4/1/08.
(jn, ) (Entered: 04/01/2008)

 

05/09/2008 73 | Letter from Kevin Burke requesting counsel and bail/detention hearing. re 72
Petition and Order for Summons VOP. Letter forwarded to the Hon. K.S.
Hayden (jn, ) (Entered: 05/09/2008)

05/20/2008 74 | ORDER granting bail and permitting release of defendant. Recog.# NEW0735
as to Kevin Burke re 73 Letter. Signed by Judge Katharine 8. Hayden on
5/16/08. (jn2, ) (Entered: 05/20/2008)

05/27/2008 75 | ORDER APPOINTING FEDERAL PUBLIC DEFENDER as to Kevin Burke
LISA MACK for Kevin Burke appointed. Signed by Judge Katharine 8.
Hayden on 5/27/08. (jgb) (Entered: 05/28/2008)

11/13/2008 76 | Probation Jurisdiction Transferred to UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF FLORIDA as to Kevin Burke. (NR )
(Entered: 11/17/2008)

11/13/2008 77 | Clerk's Transmittal Letter to the Southern District of Florida re 76 Transfer
Out/Probationer (NR ) (Entered: 11/19/2008)

12/15/2008 78 | ORDER to Rescind 12C Violation as to Kevin Burke re 69 Petition and Order
for Warrant VOP, PETITION AND ORDER FOR ISSUANCE OF ARREST
WARRANT for VIOLATION OF PROBATION as to Kevin Burke is
Rescinded.. Signed by Judge Katharine §. Hayden on 12/10/08. (jn, ) (Entered:

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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Case 9:08-tp-80023-DMM Document1 Entered on FLSD Docket 12/15/2008 Page 9 of 17

Case 2:06-cr-00511-KSH Document58 Filed 07/06/2006 Page 1of5

e1/2006R0285
UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY
UNITED STATES OF AMERICA : Hon.
Vv. : Crim. No.

KEVIN BURKE, ; 18 U.S.C. § 371
a/k/a “Kyle Berkman” :

INFORMATION
The defendant having waived in open court prosecution
by Indictment, the United States Attorney for the District of New
Jersey charges:
1. At all times relevant to this Information:

-a. Certegy Inc. (“Certegy”) operated a check
approval service for merchants accepting personal checks as
payment from customers;

b. A merchant obtained approval for a personal
check submitted by a customer by swiping the check through an
electronic “reader,” which, in turn, communicated electronically
with one of Certegy’s three check verification centers, located
in St. Petersburg, Florida; Madison, Wisconsin; and Salt Lake
City, Utah; and

c. After confirming through a check of its
internal databases that no prior fraud had been reported in
connection with the name appearing on the check, Certegy
authorized the merchant to accept the check as payment from the

customer, If the check later turned out to be fraudulent,

 

 
Case 9:08-tp-80023-DMM Document1 Entered on FLSD Docket 12/15/2008 Page 10 of 17

Case 2:06-cr-00511-KSH Document58 Filed 07/06/2006 Page 2of5

Certegy became obligated to reimburse the merchant for its
losses.

2. From in or about January 2003 to in or about
February 2003, in the District of New Jersey and elsewhere,
defendant

KEVIN BURKE,
a/k/a “Kyle Berkman,”
did knowingly and willfully conspire with others to devise a
scheme and artifice to defraud Certegy and to obtain money and
property by means of materially false and fraudulent pretenses,
representations, and promises, and, for the purpose of executing
a scheme and artifice to defraud, transmit and cause to be
transmitted by means of wire communications in interstate and
foreign commerce, certain signs, signals, and sounds, as
described below, contrary to Title 18, United States Code,
Section 1343.
The Object of the Conspiracy

3. The object of the conspiracy was to fraudulently
induce Certegy to authorize merchants to accept checks for
payment that were in fact counterfeit, and by such conduct obtain
merchandise that could be later sold for cash.

The Means of the Conspiracy

4. Among the means employed by defendant KEVIN BURKE

and his coconspirators to carry out the conspiracy and to effect

its unlawful objects were the following:

 
 

Case 9:08-tp-80023-DMM Document 1 Entered on FLSD Docket 12/15/2008 Page 11 of 17
Case 2:06-cr-00511-KSH Document58 Filed 07/06/2006 Page 3of5

a. From in or about January 2003 to in or about
February 2003, Troy Davis (“Davis”), who is named as a co-
conspirator but not as a defendant herein, obtained numerous
counterfeit checks bearing genuine bank routing numbers,
fictitious bank account numbers, and the names of fictitious
account -holders.

b. During the same time period, defendant BURKE
and others were recruited by Davis and others to pose as
fictitious bank account-holders using false and fraudulent
identification documents to correspond with names on the
counterfeit checks (hereinafter the “Straw Purchasers”) .

c. During the same time period, Davis and others
drove BURKE and other Straw Purchasers to numerous retail stores
located throughout New Jersey and instructed them to purchase
electronics and other merchandise, which had an aggregate value
between $120,000 and $200,000, using the counterfeit checks and
fraudulent identification documents.

d. When the counterfeit checks were submitted by
BURKE and the other Straw Purchasers as payment for the
merchandise, the retail store merchants swiped them in the
readers, communicating electronically with Certegy’s verification
centers. Because the names and account numbers on the checks
were fictitious, Certegy did not locate the names in its fraud
databases and, therefore, authorized the merchants to accept the

counterfeit checks as payment.

 

 
Case 9:08-tp-80023-DMM Document 1 Entered on FLSD Docket 12/15/2008 Page 12 of 17
Case 2:06-cr-00511-KSH Document58 Filed 07/06/2006 Page 4 of5

e. Davis subsequently sold the merchandise for
cash and shared the proceeds with the Straw Purchasers.
OVERT ACTS
5. In furtherance of the conspiracy, and to effect its
unlawful object, defendant KEVIN BURKE and his coconspirators
committed, and caused to be committed, the following acts in the
District of New Jersey and elsewhere:

a. In or about February 2003, defendant BURKE
received a false and fraudulent New Jersey driver’s license in
the name of “Kyle Berkman’;

b. On or about February 14, 2003, defendant BURKE
negotiated a counterfeit check in the amount of $2,117.88, in the
name of “Kyle Berkman,” at a computer store in East Brunswick,
New Jersey;

c. In or about February 2003, defendant BURKE
drove co-conspirator J.P. to certain retail stores, where J.P.
presented counterfeit checks in order to purchase merchandise.

All in violation of Title 18, United States Code,

Section 371.

Cercle J. War lic

CHRISTOPHER J. CHRISTIE
United States Attorney

 

 
 

Page 5 of 5

Filed 07/06/2006

_ Case 9:08-tp-80023-DMM Document 1 Entered on FLSD Docket 12/15/2008 Page 13 of 17
Case 2:06-cr-00511-KSH Document 58

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PLEZ-SPI (E€L6)
ATSHID MIN ‘MMWMAN
ATNAOLLY “S°O INWLSISSY
NNWWUSEElT zara

 

AGSHGL MAN *MUWMAN AINYOLIF “S°H
ALLSIUHD °f wHHdOLSTUHD

 

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Case 2:06-cr-00511-KSH Document66 Filed 03/15/2007 Page 1 of 4

AQ 245 B (Rev. 12/03) Sheet 4 - Judgment ina Criminal Case —

UNITED STATES DISTRICT COURT
District of New Jersey

UNITED STATES OF AMERICA
Vv. Case Number 06-511-01

KEVIN MICHAEL BURKE
a.k.a Kevin M. Burt

Defendant.

JUDGMENT IN A CRIMINAL CASE
(For Offenses Committed On or After November 1, 1987)
The defendant, KEVIN MICHAEL BURKE, was represented by Brian Blaney, Esq.

The defendant pled guilty to count(s) 1 of the information on 7/6/06, Accordingly, the court has adjudicated that the
defendant is guilty of the following offense(s):

Count
Title & Section Nature of Offense Date of Offense Number(s)
18:371 Conspiracy to defraud the United States 01/03 thru 02/03 1

As pronounced on 3/15/07, the defendant is sentenced as provided in pages 2 through 4 of this Judgment. The sentence
is inposed pursuant to the Sentencing Reform Act of 1984.

Itis ordered that the defendant shall pay to the United States a special assessment of $100.00, for count(s) 1, which shall
be due immediately. Said special assessment shall be made payable to the Clerk, U.S. District Court.

Itis further ordered that the defendant shall notify the United States Attorney for this district within 30 days of any change
of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this Judgment are fully
paid. If ordered to pay restitution, the defendant shall notify the court and United States Attorney of any material change in the
defendant's economic circumstances.

Signed this the _15 day of March, 2007.

 

 

 

KATHARINE S. HAYDEA Nd
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United States District

 
 

 

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AQ 245 B (Rev. 12/03) Sheet 4-Probation

 

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Defendant: KEVIN MICHAEL BURKE
Case Number: 06-511-01

PROBATION

The defendant is hereby placed on probation for a term of 5 years. Kea (reed yor Argh)

While on probation, the defendant shall comply with the standard conditions that have been adopted by this court (on the
next page).

The defendant shall submit to one drug test within 15 days of commencement of probation and at least two tests thereafter
as determined by the probation officer.

if this judgment imposes a fine, spacial assessment, costs or restitution obligation, it shall ba a condition of probation that
the defendant pay any such fine, assessment, costs and restitution and shall comply with the following special conditions:

 

 
 

 

 

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AO 245 B (Rev. 12/03) Sheet 4a - Probation eer

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Defendant: KEVIN MICHAEL BURKE
Case Number: 06-511-01

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STANDARD CONDITIONS OF PROBATION
While the defendant is on probation pursuant to this Judgment:
The defendant shall not commit another federal, state, or local crime during the term of supervision.
The defendant shall not illegally possess a controlled substance.
if convicted of a felony offense, the defendant shall not possess a firearm or destructive device.
The defendant shall not leave the judicial district without the permission of the court or probation officer.

The defendant shall report to the probation officer as directed by the court or probation officer and shall submit a truthful and
complete written report within the first five days of each month.

The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer.
The defendant shall support his or her dependents and meet other family responsibilities.

The defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training, or
other acceptable reasons.

The defendant shall notify the probation officer within seventy-two hours of any change In residence or employment.

The defendant shall refrain from excessive use of alcohol and shall not purchase, possé¢ss, use, distribute or administer any
narcotic or other controlled substance, or any paraphernalia related to such substances.

The defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered.

The defendant shall not associate with any persons engaged In criminal activity, and shall not associate with any person
convicted of a felony unless granted permission to do so by the probation officer.

The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation
of any contraband observed In plain view by the probation officer.

The defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
officar.

The defendant shall not enter into any agreement to act as an informer ora special agent of a law enforcement agency without
the permission of the court.

As directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's
criminal record or personal history or characteristics, and shall permit the probation officer to make such notifications and to
confirm the defendant's compliance with such notification requirement.

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Upon a finding of a violation of probation or supervised release, I understand that the Court may (1) revoke supervision or
J (2) extend the term of supervision and/or modify the conditions of supervision.

These conditions have been read to me. I fully understand the conditions, and have becn provided a copy of them.

 

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You shall carry out all rules, in addition to the above, as prescribed by the Chief U.S. Probation Officer, ur any of his |
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Defendant Date |

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| associate Probation Officers. (Signed)
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12/03) Sheet 6 - Restitution and Forfeiture

  

AQ 245 B (Rev,

 

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Defendant: KEVIN MICHAEL BURKE
Case Number: 06-511-04

RESTITUTION AND FORFEITURE

RESTITUTION

The defendant shal! make restitution to the following persons in the following amounts:

Name of Payee (Victim) Amount of Restitution
Certegy Check Services $44,048.35

11801 Roosevelt Boulevard
Saint Petersburg, Florida

Payments of restitution are to be made payable to U.S. Treasury and mailed to Clerk, U.S.D.C., 402 East State Street, Rm
2020, Trenton, New Jersey 08608 for distribution to the victim(s).

The foliowing defendant(s) In the following case(s) may be subject to restitution orders to the same victim for thig same loss:

Jennifer Pizza Cr. No. 06-489
Troy Davis Cr. No. 05-856
George Adrainopoulos Cr, Magistrate No. 06-8106

Unless the court has expressly ordered otherwise, If this judgment imposes imprisonment, payment of criminal monetary
penalties is due during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau
of Prisons’ Inmate Financiat Responsibility Program, are made to the clerk of the court.

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution Interest, (4) fine
principal, (5) community restitution, (8) fing interest, (7) penalties, and (8) costs, including cost of prosecution and court
costs.

 

 
